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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: May 6, 2022
        Defendant.                             )
                                               )

                                             ORDER
       On April 14, 2022, the parties participated in a hearing on the Defense’s pre-trial motions
and a pre-trial status conference in the above-captioned matter. ECF No. 51. During those
proceedings, the parties informed the Court that they were conferring about a proposed schedule
for pre-trial proceedings and that the parties would submit a proposed schedule to the Court
shortly thereafter. To date, the parties have not filed a proposed schedule for pre-trial
proceedings.

       In light of the foregoing, the parties SHALL FILE a joint status report proposing a
schedule for pre-trial proceedings on or before May 27, 2022.



       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
